                         Case 1:21-cr-00175-TJK Document 857-9 Filed 08/17/23 Page 1 of 1
  From: 1184521847 Conner MacManus

  If they are going to go to one that is
                                                 1/21/2021 3:14:53 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1C232AAA (Size: 873086976 bytes)



                                                                                                   From: 573782641 Rufio Panman (owner)
                                                                                                   Attachments:

                                                                                                    Size: 0
                                                                                                    (Empty File)

                                                                                                                                                 1/21/2021 3:16:41 PM(UTC-8)


                                                                                                Source Info:
                                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                8138281883108468013/postbox/db/db_sqlite : 0x32D35DDA (Size: 873086976 bytes)



  From: 1184521847 Conner MacManus

  Yeah we where talking to the vest guys at the gun show.
                                                                1/21/2021 3:18:14 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup
/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x320C7C59 (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      Think if we had 100+orders of all uniforms it would probably cost $200-250 per dude that
                                                      would include everything
                                                                                                                                                 1/21/2021 3:19:43 PM(UTC-8)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x321E0EFE (Size: 873086976 bytes)



                                                                    From: 573782641 Rufio Panman (owner)

                                                                    Med kits, boots, pants, shirts (stab proof) vests, gloves(cut proof) masks etc
                                                                                                                                                 1/21/2021 3:20:42 PM(UTC-8)


                                                                  Source Info:
                                                                  e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-
                                                                  FE61-47D7-84D1-511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x1C232B77 (Size:
                                                                  873086976 bytes)



  From: 1184521847 Conner MacManus

  I can’t find cut shirts online. They say you can only buy in store and closest store I found
  was Florida
                                                                                           1/21/2021 3:21:51 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x320C7E29 (Size: 873086976 bytes)



  From: 752612623 Dan Tooze
  Attachments:

   Size: 0
   (Empty File)

                                                 1/21/2021 6:00:52 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x32D4D265 (Size: 873086976 bytes)                                                                  21CR175_00003645
                                                                                                                                                                                     15603
